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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
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 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )      CR. S-10-347 MCE
12             Plaintiff,          )
                                   )      STIPULATION AND
13                                 )      ORDER CONTINUING STATUS
          v.                       )      CONFERENCE
14                                 )
     DISHAN PERERA, LEONARD        )
15   WOODFORK, NAVPREET SINGH,     )
     LOVEDEEP SIDHU, NAVJOT SINGH, )
16   JASON CAVILEER, RAMIRO        )
     GARCIA, and TOREY MOORE,      )
17                                 )
               Defendants.         )
18                                 )
19
20        IT IS HEREBY STIPULATED between Plaintiff United States of
21   America, by and through Assistant United States Attorney Todd D.
22   Leras, and Attorney Dwight Samuel on behalf of Dishan Perera,
23   Attorney Olaf Hedberg on behalf of Leonard Woodfork, Attorney
24   John Virga on behalf of Navpreet Singh, Attorney Christopher
25   Haydn-Myer on behalf of Lovedeep Sidhu, Attorney Mark Reichel on
26   behalf of Navjot Singh, Attorney Dan Koukol on behalf of Jason
27   Cavileer, Attorney Shari Rusk on behalf of Torey Moore, and
28   Attorney Christopher Cosca on behalf of Ramiro Garcia, that the

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 1   status conference scheduled for March 7, 2013, be continued to
 2   April 4, 2013, at 9:00 a.m.
 3        Attorney Dwight Samuel was recently appointed to represent
 4   Dishan Perera in this matter.      The government reproduced the
 5   voluminous discovery in this wiretap investigation and provided
 6   it to Mr. Samuel.    He is still reviewing it.      Because Dishan
 7   Perera’s telephone was the subject of various rounds of court-
 8   authorized wiretaps in the case, the discovery contains a
 9   substantial amount of material relevant to Dwight Samuel’s
10   representation of Dishan Perera.        In addition, continuing
11   investigation is occurring on behalf of other defendants related
12   to the extent of their participation in the conspiracy alleged in
13   the case.   This investigation impacts the potential sentencing
14   guidelines applicable to each of the alleged participants.             Given
15   the voluminous discovery, including telephone calls intercepted
16   during the course of three successive rounds of wiretaps, counsel
17   requires additional preparation time.       The parties therefore
18   request to continue the status conference to April 4, 2013.
19        For the above-stated reasons, the parties stipulate that
20   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
21   T4 (reasonable time to prepare and continuity of counsel).
22   Defense counsel have authorized Assistant U.S. Attorney Todd D.
23   Leras to sign this stipulation on their behalf.
24
25   DATED: March 4, 2013              By: /s/ Todd D. Leras
                                            TODD D. LERAS
26                                          Assistant U.S. Attorney
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 1   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            DWIGHT SAMUEL
 2                                          Attorney for Defendant
                                            DISHAN PERERA
 3
 4   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            OLAF HEDBERG
 5                                          Attorney for Defendant LEONARD
                                            WOODFORK
 6
 7   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            JOHN VIRGA
 8                                          Attorney for Defendant
                                            NAVPREET SINGH
 9
10   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            CHRISTOPHER HAYDN-MYER
11                                          Attorney for Defendant
                                            LOVEDEEP SIDHU
12
13   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            MARK REICHEL
14                                          Attorney for Defendant
                                            NAVJOT SINGH
15
     DATED: March 4, 2013              By: /s/ Todd D. Leras for
16                                          DAN KOUKOL
                                            Attorney for Defendant
17                                          JASON CAVILEER
18
     DATED: March 4, 2013              By: /s/ Todd D. Leras for
19                                          CHRISTOPHER COSCA
                                            Attorney for Defendant
20                                          RAMIRO GARCIA
21   DATED: March 4, 2013              By: /s/ Todd D. Leras for
                                            SHARI L. RUSK
22                                          Attorney for Defendant
                                            TOREY MOORE
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 1        IT IS HEREBY ORDERED:
 2        1.   A status conference in this matter is set for April 4,
 3   2013, at 9:00 a.m.;
 4        2.   Based on the stipulation of the parties, the Court
 5   finds that the ends of justice outweigh the best interest of the
 6   public and Defendant in a speedy trial.       Accordingly, time under
 7   the Speedy Trial Act shall be excluded under 18 U.S.C. §
 8   3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to prepare)
 9   up to and including April 4, 2013.
10        IT IS SO ORDERED.
11   Dated: March 8, 2013
12
13
                                 _____________________________________________
14                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                 UNITED STATES DISTRICT JUDGE
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